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6                                  UNITED STATES DISTRICT COURT

7                                         DISTRICT OF NEVADA

8                                                   ***

9     JOSE LUIS ORTIZ DELL,                                  Case No. 2:20-cv-01844-GMN-DJA
10                                         Petitioner,                     ORDER
               v.
11
      THOMAS E. SEELEY, et al.,
12
                                       Respondents.
13

14            Petitioner Jose Luis Ortiz Dell has filed a pro se habeas corpus petition under 28

15   U.S.C. § 2241, in which he challenges his continued detention beyond the removal

16   period (ECF No. 1-1). His application to proceed in forma pauperis (ECF No. 1) is

17   granted. This court has conducted a preliminary review of the petition.

18            IT IS THEREFORE ORDERED that petitioner’s application to proceed in forma

19   pauperis (ECF No. 1) is GRANTED.

20            IT IS FURTHER ORDERED that the Clerk detach and file the petition (ECF No.

21   1-1).

22            IT IS FURTHER ORDERED that the Clerk SERVE copies of the petition (ECF

23   No. 1-1) and this order upon respondents as follows:

24
        (1)         By delivering a copy of the petition (ECF No. 1-1) and this order on the United
25                  States Attorney for the District of Nevada pursuant to Rule 4(i)(1)(A)(i) of the
                    Federal Rules of Civil Procedure.
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     Case 2:20-cv-01844-GMN-DJA Document 4 Filed 11/02/20 Page 2 of 2



1       (2)      By sending a copy of the petition (ECF No. 1) and this order by registered or
                 certified mail to the following: (1) Thomas E. Seeley, Salt Lake City Field
2                Office of U.S. Immigration and Customs Enforcement, 2975 Decker Lake Dr.,
3                Suite 100, West Valley City, UT, 84119-6096; (2) Chad F. Wolf, Acting
                 Director, U.S. Immigration and Customs Enforcement, 500 12th St. SW,
4                Washington, DC, 20229-0009; (3) William Barr, U.S. Attorney General, 950
                 Pennsylvania Ave., NW, Washington, DC 20530-0001; and (4) Warden,
5                Henderson Detention Center, 2190 Mesquite Ave., Pahrump, NV 89060.
6

7             IT IS FURTHER ORDERED that respondents FILE AND SERVE an answer or

8    other response to the petition (ECF No. 1-1) within 20 days of the date that this order is

9    entered, unless for good cause additional time is allowed.
10            IT IS FURTHER ORDERED that respondents and petitioner file all exhibits with a

11   separate index of exhibits identifying the exhibits by number or letter. The CM/ECF

12   attachments that are filed further must be identified by the number or numbers (or letter

13   or letters) of the exhibits in the attachment.

14

15            DATED: 2 November 2020.
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17                                                        GLORIA M. NAVARRO
                                                          UNITED STATES DISTRICT JUDGE
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